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                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                              PEORIA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )
               v.                               )         Case No. 23-CR-10016
                                                )
SERGION CRAIG-COX,                              )
                                                )
                        Defendant.              )


      ORDER APPROVING MAGISTRATE JUDGE’S RECOMMENDATION


      On December 21, 2023, Report and Recommendation (#24) was filed by United

States Magistrate Judge Jonathan E. Hawley in this case, recommending that Defendant

Sergion Craig-Cox’s plea of guilty be accepted. More than fourteen days have elapsed,

and no objections have been made. This court therefore ACCEPTS the recommendation

of the Magistrate Judge. Defendant’s plea of guilty as to Counts 1, 2 and 3 of the

Indictment (#10) is accepted by the court and Defendant is adjudged guilty of Counts 1,

2 and 3 of the Indictment. The Magistrate Judge’s order that the United States Probation

Office is to prepare a pre-sentence investigation report remains in effect. Sentencing

remains set for April 23, 2023, at 10:00 a.m. in Courtroom B in Peoria, before the

undersigned.

                    ENTERED this 5th Day of January, 2024.

                                      s/ Michael M. Mihm
                                       MICHAEL M. MIHM
                                       SENIOR U.S. DISTRICT JUDGE
